                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION

 THOMAS BRANCH,

        Plaintiff,
                                                Case No. 2:24-cv-00005
 v.
                                                Judge Waverly D. Crenshaw, Jr.
 FREEDOM MORTGAGE CORPORATION,                  Magistrate Judge Alistair E. Newbern

        Defendant.


                                           ORDER

       The Magistrate Judge held a telephone conference with counsel for the parties on May 28,

2024. For the reasons discussed in the conference and with the agreement of counsel, the Court

ORDERS as follows:

       Plaintiff Thomas Branch shall file a motion to amend the complaint by June 18, 2024.

Before that date, counsel shall provide the proposed amended pleading to counsel for Defendant

Freedom Mortgage Corporation for review. If Freedom does not oppose the amendment, Branch

shall file the motion as unopposed.

       Briefing on Freedom’s motion to dismiss (Doc. No. 10) remains STAYED until the Court

has resolved Branch’s anticipated motion to amend the complaint.




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       A telephonic case management conference is set on July 18, 2024, at 9:30 a.m. By July 16,

2024, counsel shall meet and confer regarding a proposed case management calendar and shall file

a joint proposed amended initial case management order. Counsel shall call (888) 557-8511 and

enter access code 7819165# to participate in the conference.

       It is so ORDERED.



                                                    ____________________________________
                                                    ALISTAIR E. NEWBERN
                                                    United States Magistrate Judge




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